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                                                    U .S.D epartm entofJustice
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    :Nw-.. e !                                      Crim inalD ivision

                                                    Fraud Section
                                                    1400A'cu'YorkAvenue,N I'K
                                                    Washington,D.C.20005



                                                    June 20,2016

  V lA H AN D DELIV ER Y
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          Re:Grand Jurv lnvestization                /t - 1u ( és'yos. .
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  D ear M r.RaulM oreno:

          This letteristo notify you thatyou are a targetofa grand jury investigation in the
  Southern District of Florida involving possible violations of federal crim inal law . This
  investigation involves,butisnotlim ited to,violationsofTitle 18,United States Code,Section
  1347 (Health CareFraud),Title l8,United StatesCode,Section 1349 (Conspiracy to Commit
  Health CareFraud and W ire Fraud),Title 18,United StatesCode,Section 371 (Conspiracy to
  PayHealthCareKickbacks),and Title 18United StatesCode,Sections1956and 1957.
           Ifyou electto retain counselin thism atter,please have yourattorney contactme. lfyou
  believe you are financially unable to hire an attorney,the Courtm ay appoint counselforyou.If
  this is the case,I encourage you to contactm e at the telephone num ber below for the lim ited
  purpose ofarranging a hearing before ajudicialofficerto inquire into youreligibility to have
  counselappointed atno costto you.

          lfyourcounseldoes notcontactm e by June 24,2016,lw illassum e thatyou have elected
  notto resolve thismatter atthistime. ln thatevent,the grand jury willconsiderthe facts
  obtained during the course ofthisinvestigation.

                                                    Very truly yours,


                                                    ks Elizabeth Young
                                                    Elizabeth Young
                                                    U .S.D epartm entofJustice
                                                    Crim inalD ivision,Fraud Section
                                                    (202)-262-7560
